                 Case 1:15-cv-05871-KPF Document 89 Filed 08/17/17 Page 1 of 2

                                                                             USDC SDNY
                                                                             DOCUMENT
                                                                             ELECTRONICALLY FILED
                                                                             DOC #: _________________
                                                                                           August 17, 2017
                                                                             DATE FILED: ______________
                                             THE CITY OF NEW YORK
                                            LAW DEPARTMENT
ZACHARY W. CARTER                               100 CHURCH STREET                                   DEBRA MARCH
Corporation Counsel                             NEW YORK, NY 10007                               phone: (212) 356-2410
                                                                                                   fax: (212) 356-3508
                                                                                                  dmarch@law.nyc.gov


                                                                     August 16, 2017
       BY ECF and E-Mail
       Honorable Katherine Polk Failla

                                                                          MEMO ENDORSED
       United States District Court
       Southern District of New York
       40 Foley Square, Room 2103
       New York, New York 10007
       Failla_NYSDChambers@nysd.uscourts.gov

                 Re: Price v. City of New York, et al., 15-CV-5871 (KPF)

       Your Honor:

              I am an Assistant Corporation Counsel in the New York City Law Department and the
       attorney assigned to represent the City of New York, Inspector Obe, and Selvena Brooks in the
       above-captioned matter. I write to respectfully request that the Court stay Officer Staines’ and
       Lt. Corrado’s responses to plaintiff’s Complaint until such time as the Court issues a briefing
       schedule for defendants’ anticipated motion to dismiss.

               As Your Honor may recall, on March 15, 2017, following a pre-motion conference,
       defendants were granted permission to move to dismiss the case. On June 12, 2017 the
       undersigned wrote to the Court to seek clarification on the current briefing schedule (Civil
       Docket Entry No. 74). On that same day, Your Honor adjourned the briefing schedule sine die
       in order for all the newly named defendants to be served. (Id. at No. 75). The Court instructed
       that after all these defendants were served, it would issue a new briefing schedule to avoid
       duplicative motion practice. (Id.). On August 7, 2017 the docket reflected that Officer Staines
       and Lt. Corrado had been served and that their answers are due on August 18, 2017. (Id. at Nos.
       84, 86).

              This Office has confirmed that we can represent Officer Staines and Lt. Corrado, whose
       responses to the Amended Complaint are currently due August 18, 2017. In light of the fact that
       the Court has indicated that it will issue a new briefing schedule once all defendants are served,
       and all defendants have not yet been served, this Office respectfully requests that Officer
       Staines’ and Lt. Corrado’s responses be stayed until the Court issues a new briefing schedule.

               Thank you for your time and consideration herein.
            Case 1:15-cv-05871-KPF Document 89 Filed 08/17/17 Page 2 of 2




                                                          Respectfully submitted,
                                                           /S
                                                          Debra March
                                                          Assistant Corporation Counsel
   cc:    VIA FIRST CLASS MAIL
          Kelly Price
          Plaintiff Pro Se
          534 W. 187th Street
          Apt. 7
          New York, N.Y. 10033




Application GRANTED. The August 18 deadlines for Officer Staines's
and Lt. Corrado's responses to the Amended Complaint are adjourned
sine die. When all of the Defendants have been served in this case,
or when the deadlines for service have all lapsed (whichever comes
first), the City Defendants' Counsel must advise the Court which of
the City Defendants wish to file a motion to dismiss the Amended
Complaint, so that the Court may set a briefing schedule for that
contemplated motion.

                                                  SO ORDERED.




Dated: August 17, 2017                            HON. KATHERINE POLK FAILLA
       New York, New York                         UNITED STATES DISTRICT JUDGE



A copy of this Order was mailed by Chambers to:

  Kelly Price
  534 W. 187th Street
  Apt. # 7
  New York, NY
  10033




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